     Case 5:17-cv-02514-JGB-SHK Document 119-2 Filed 02/22/19 Page 1 of 2 Page ID
                                      #:1170


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     ATTORNEYS FOR DEFENDANT
11   THE GEO GROUP, INC.
12                             UNITED STATES DISTRICT COURT
13                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14   RAUL NOVOA and JAIME                          CASE NO. 5:17-cv-02514-JGB-SHKx
15   CAMPOS FUENTES, individually and
     on behalf of all others similarly situated,   [PROPOSED] ORDER GRANTING
16                                                 STIPULATION TO MODIFY THE
             Plaintiff,                            SCHEDULING ORDER
17   v.                                            [Filed concurrently with Stipulation and
18                                                 the Declaration of Alex Linhardt]
     THE GEO GROUP, INC.,
19                                                 JUDGE: Hon. Jesus G. Bernal
             Defendant.
20
21    THE GEO GROUP, INC.,                         SAC Filed: December 24, 2018
22                                                 Current Trial Date: August 27, 2019
              Counter-Claimant,                    Proposed Trial Date: February 27, 2020
23    v.
24    RAUL NOVOA, individually and on
25    behalf of all others similarly situated,

26            Counter-Defendant.

27
28
           (PROPOSED) ORDER GRANTING STIPULATION TO EXTEND TIME TO
30                 RESPOND TO MODIFY THE SCHEDULING ORDER
31
     Case 5:17-cv-02514-JGB-SHK Document 119-2 Filed 02/22/19 Page 2 of 2 Page ID
                                      #:1171


 1
           The Court, having considered the parties’ Stipulation to Modify the Scheduling
 2
     Order and the Declaration of Alex L. Linhardt, and good cause appearing therefore,
 3
     hereby approves the stipulation and orders as follows:
 4
           The Scheduling Order is modified as follows:
 5
           Expert Disclosure (Initial):                 September 17, 2019
 6
           Expert Disclosure (Rebuttal):                October 1, 2019
 7
           All Discovery Cutoff (including
 8
           hearing discovery motions):                  October 15, 2019
 9
           Last Date to Conduct Settlement
10
           Conference:                                  November 13, 2019
11
           Last Date to Hear Non-Discovery
12
           Motions:                                     January 10, 2020
13
           Final Pretrial Conference & Hearings
14
           on Motions in Limine:                        February 12, 2020
15
           Trial Date:                                  February 27, 2020
16
17
           IT IS SO ORDERED.
18
19   Dated: ______________, 2019                       ____________________________
20                                                      Hon. Jesus G. Bernal
                                                        United States District Judge
21
22
23
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27
28
        (PROPOSED) ORDER GRANTING STIPULATION TO EXTEND TIME TO
30              RESPOND TO MODIFY THE SCHEDULING ORDER
                                                  2
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